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                                                    May 13, 2025


  By CM/ECF
  Honorable Wendy Beetlestone, U.S.D.J.
  10614 U.S. Courthouse
  601 Market Street,
  Philadelphia, PA 19106

          Re:      John Doe v. America PAC, et al.
                   No. 2:25-cv-01691-WB

  Dear Judge Beetlestone,

           This firm represents Plaintiffs in the above-captioned matter. Plaintiffs respectfully request that
  the Rule 16 conference currently scheduled for May 20, 2025, at 11:00 AM be adjourned to June 3, 2025,
  or a later date convenient for the Court.

          Plaintiffs’ trial counsel is set to begin a jury trial in another matter on May 19, 2025, which is
  anticipated to last one week. Additionally, Plaintiffs recently filed a related action, Maglietta, et al. v.
  America PAC, et al., No. 2:25-cv-02364, which may warrant coordinated discovery with this case.

           Defendants do not oppose this adjournment, and their counsel is available on June 3, 2025, should
  that date work for the Court.

          We appreciate the Court’s consideration of this request.



                                                              Respectfully submitted,

                                                              /s/ Shannon Liss-Riordan
                                                              Shannon Liss-Riordan

                                                              Counsel for Plaintiffs

  cc:     All counsel of record (by ECF)
